Case 1:23-cr-00430-KPF   Document 112-1   Filed 12/18/24   Page 1 of 37




              EXHIBIT A
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            1 Date    Filed: 11/26/2024
                                                 12/18/24    Page 2 of 37




         United States Court of Appeals
              for the Fifth Circuit                                   United States Court of Appeals
                                                                               Fifth Circuit

                              ____________                                   FILED
                                                                     November 26, 2024
                               No. 23-50669                             Lyle W. Cayce
                              ____________                                   Clerk

 Joseph Van Loon; Tyler Almeida; Alexander Fisher;
 Preston Van Loon; Kevin Vitale; Nate Welch,

                                                       Plaintiffs—Appellants,

                                    versus

 Department of the Treasury; Office of Foreign Assets
 Control; Janet Yellen, Secretary, U.S. Department of Treasury, in
 her official capacity; Andrea M. Gacki, in her official capacity as Director
 of the Office of Foreign Assets Control,

                                         Defendants—Appellees.
                ______________________________

                Appeal from the United States District Court
                     for the Western District of Texas
                          USDC No. 1:23-CV-312
                ______________________________

 Before Jones, Willett, and Engelhardt, Circuit Judges.
 Don R. Willett, Circuit Judge:
        The International Emergency Economic Powers Act, an integral part
 of the modern U.S. sanctions regime, authorizes the President to freeze the
 assets of, and prohibit transactions with, any foreign actor determined to be
 a threat to America’s national security. This sweeping delegated power is
 carried out by the Treasury Department’s Office of Foreign Assets Control
 (OFAC), which oversees various economic-based sanctions programs. In
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            2 Date    Filed: 11/26/2024
                                                 12/18/24    Page 3 of 37



                                  No. 23-50669


 late 2022, OFAC sanctioned Tornado Cash, an open-source, crypto-
 transaction software protocol that facilitates anonymous transactions by
 obfuscating the origins and destinations of digital asset transfers. OFAC
 blacklisted Tornado Cash for its role in laundering virtual currency for
 malicious cyber actors—for example, a North Korea-linked hacking group
 that used Tornado Cash to launder the proceeds of cybercrimes. By adding
 Tornado Cash to the list of Specially Designated National and Blocked
 Persons (SDN), OFAC imposed an across-the-board prohibition against
 any dealings with Tornado Cash “property,” which OFAC defined to
 include open-source computer code known as “smart contracts.” Tornado
 Cash’s crypto-mixing smart contracts offer two prized attributes: privacy (by
 anonymizing digital transactions) and immutability (as the software code is
 unownable, uncontrollable, and unchangeable—even by its creators).
        The six plaintiffs-appellants are users of Tornado Cash. They argue
 that Tornado Cash’s inclusion on the SDN list exceeded OFAC’s statutory
 authority. The district court disagreed, granting summary judgment to the
 Department and finding Tornado Cash subject to OFAC’s sanctioning
 authority. Van Loon and the other plaintiffs appealed, making the same
 principal argument here—that Tornado Cash’s open-source, self-executing
 software is not sanctionable under the Act (as opposed to the rogue persons
 and entities who abuse it). OFAC’s concerns with illicit foreign actors
 laundering funds are undeniably legitimate. Perhaps Congress will update
 IEEPA, enacted during the Carter Administration, to target modern
 technologies like crypto-mixing software. Until then, we hold that Tornado
 Cash’s immutable smart contracts (the lines of privacy-enabling software
 code) are not the “property” of a foreign national or entity, meaning (1) they
 cannot be blocked under IEEPA, and (2) OFAC overstepped its
 congressionally defined authority.




                                       2
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            3 Date    Filed: 11/26/2024
                                                 12/18/24    Page 4 of 37



                                        No. 23-50669


         We REVERSE and REMAND to the district court with
 instructions to grant Van Loon’s motion for partial summary judgment based
 on the Administrative Procedure Act.
                                              I
         Before getting to the legal analysis, we first offer a primer on
 cryptocurrency and blockchain.1
         Unlike traditional fiat currencies, such as the U.S. dollar,
 cryptocurrency is a decentralized and fully digital form of currency. Like fiat
 currencies, there are many kinds of cryptocurrency, and each is associated
 with a unique “coin” that serves as its record of value. These coins, like fiat
 currencies, can be traded, transferred, invested, and used to pay for goods
 and services.
         Cryptocurrency’s value is recorded on a “blockchain.” Blockchains
 function like a bank’s ledger in that they record all transfers of data2—
 including, as relevant to this case, transactions. But unlike a bank ledger,
 blockchains are “public, permanent, permissionless, and maintained through
 a decentralized network of independent computers” or online users. In




         _____________________
         1
            We recognize that ongoing litigation challenges whether certain crypto assets are
 currency or securities that are subject to regulation by the Securities and Exchange
 Commission. Our descriptions of cryptocurrency, blockchain, Ethereum, and Ether in this
 opinion do not answer that question and merely reflect the language used in the briefing
 and in the record. Likewise, when we make analogies to the banking industry, we do not
 weigh in on whether crypto is a part of the banking industry, another issue that is currently
 being litigated.
         2
           David Rodeck, Understanding Blockchain Technology, Forbes (May 23, 2023),
 available    at     https://www.forbes.com/advisor/investing/cryptocurrency/what-is-
 blockchain/ [https://perma.cc/V6TE-L6EV].




                                              3
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            4 Date    Filed: 11/26/2024
                                                 12/18/24    Page 5 of 37



                                        No. 23-50669


 essence, each transaction is a stored on a “block” added to the “chain” of all
 prior transactions—and is publicly viewable forever.3
         Cryptocurrency users hold their coins in “wallets.” Wallets have both
 public and private identifiers: addresses (which are public account
 identifiers) and keys (which function like passwords). Each time a user
 transacts with cryptocurrency, the transaction is posted to the blockchain and
 is visible to anyone. After a validation process, the blockchain displays the
 sender’s address, the recipient’s address, and the amount of cryptocurrency
 exchanged.
         The addresses are, in theory, pseudonymous, and thus only the
 cryptocurrency user typically knows the transaction is his or hers. However,
 de-anonymization is not impossible. Onlookers can identify transaction
 participants if they can match a public address to an identifiable person.4 And
 once that happens, the blockchain reveals other transactions that belong to
 the same person and potentially reveals sensitive information about that
 person based on how they transfer their coins.5 As a result, some
 cryptocurrency users want additional options to keep their transactions
 private.


         _____________________
         3
           Id.; see also Ethereum Block Structure, Geeks for Geeks (Aug. 22, 2024), available
 at https://www.geeksforgeeks.org/ethereum-block-structure/ [https://perma.cc/X56H-
 ZR3Q].
         4
           Satoshi Nakamoto, Bitcoin: A Peer-to-Peer Electronic Cash System, at 6 (2008),
 available at https://www.ussc.gov/sites/default/files/pdf/training/annual-national-
 training-seminar/2018/Emerging_Tech_Bitcoin_Crypto.pdf [https://perma.cc/24VZ-
 799N].
         5
            See id. (“[I]f the owner of a key is revealed, linking [on the public ledger] could
 reveal other transactions that belonged to the same owner.”); see, e.g., Matter of Search of
 Multiple Email Accts. Pursuant to 18 U.S.C. § 2703 for Investigation of Violation of 18 U.S.C.
 § 1956 et al, 585 F. Supp. 3d 1, 8 (D.D.C. 2022) (detailing such surveillance).




                                               4
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            5 Date    Filed: 11/26/2024
                                                 12/18/24    Page 6 of 37



                                  No. 23-50669


                                        A
        One type of cryptocurrency coin is Ether (ETH), created and used in
 the Ethereum blockchain network. There are two kinds of Ethereum
 accounts: externally owned accounts and smart contracts.
        An externally owned account is a wallet that can be controlled by
 anyone with the address and corresponding private key. So if a person wants
 to initiate a transaction from the wallet they control, they send a request to
 the Ethereum blockchain and pay a transaction fee—referred to as gas fees—
 in Ether. An individual known as a validator then verifies and executes the
 transaction by editing the blockchain to reflect the sending and receiving
 accounts’ new balances. Only individuals who stake significant amounts of
 Ether as collateral may become validators, to ensure the blockchain’s edits
 are legitimate.
        The second type of account, a smart contract, is a software or
 computer program that is uploaded onto the blockchain network. These
 accounts do not require validators. Instead, the software is programmed to
 automatically perform tasks, such as executing transactions, transferring
 cryptocurrency assets, and creating new smart contracts, once prompted by
 a user. Once a smart contract is deployed on the blockchain, it is assigned a
 public address with which any user can interact. As an example, a “simple
 vendor smart contract” could create and assign ownership of some digital
 asset once a user sends Ether to a specified recipient’s address. Like all other
 transactions, a transaction using a smart contract incurs a gas fee, which
 varies depending on the smart contract’s complexity.
        Smart contracts come in two forms: “mutable” and “immutable.” A
 mutable smart contract is one which is managed by some party or group and
 may be changed. An immutable smart contract, on the other hand, cannot be
 altered or removed from the blockchain. Importantly, a mutable contract may




                                        5
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            6 Date    Filed: 11/26/2024
                                                 12/18/24    Page 7 of 37



                                     No. 23-50669


 be altered to become immutable. But that is an irreversible step; once a smart
 contract becomes immutable, no one can reclaim control over it.
                                           B
        Enter Tornado Cash.
        Tornado Cash is a decentralized, open-source software project
 developed by a group of contributors who uploaded a series of smart
 contracts to the Ethereum blockchain in 2019. Some of the developers
 included Roman Storm and two Russian nationals, Alexey Pertsev and
 Roman Semenov. Pertsev, who has provided material and technological
 support to the Federal Security Service of Russia, was arrested by Dutch
 authorities on money-laundering charges.6 And the U.S. indicted Storm and
 Semenov on similar money-laundering charges.7
        As of 2022, the Tornado Cash software included both mutable and
 immutable smart contracts, all of which are open-source and stored on the
 Ethereum blockchain. Relevant to this appeal are a set of Tornado Cash-
 developed smart contracts that provide increased anonymity by
 “collect[ing], pool[ing], and . . . shuffl[ing] the cryptocurrencies deposited
 by many users.” These smart contracts, like other software codes that
 perform similar tasks, are called “mixers.”
        So how do these smart contracts work in practice? Users first deposit
 crypto into a specific “pool” smart contract based on the amount and type of
        _____________________
        6
           FIOD Belastingdienst, Arrest of Suspected Developer of Tornado Cash (Aug. 12,
 2022), available at https://www.fiod.nl/arrest-of-suspected-developer-of-tornado-cash/
 [https://perma.cc/RCC7-QMQ2].
        7
           Press Release, U.S. Attorney’s Office (S.D.N.Y.), Tornado Cash Founders
 Charged With Money Laundering And Sanctions Violations (Aug. 23, 2023), available at
 https://www.justice.gov/usao-sdny/pr/tornado-cash-founders-charged-money-
 laundering-and-sanctions-violations [https://perma.cc/2K7P-VJZU].




                                           6
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            7 Date    Filed: 11/26/2024
                                                 12/18/24    Page 8 of 37



                                 No. 23-50669


 crypto they want to mix. For example, someone who wants to deposit and
 withdraw 100 Ether would start by sending 100 ETH to the “100 ETH Pool
 Contract.” That transaction would look something like this:


                                                      100 ETH Pool
        Person A's                100 ETH            Smart Contract
         Address
                                                        Address

        Depositors then receive keys or a password entitling the holder to
 withdraw the same amount from a given pool, and this withdrawal can be
 made to an entirely different wallet than the depositing wallet, thus
 “sever[ing]” “any public link between the deposit and withdrawal
 addresses.” The software code that forms the pool smart contract will trigger
 a withdrawal from the pool only after it verifies the password. So when the
 person goes to withdraw the amount to a second address, the second
 transaction would look something like this:


      100 ETH Pool
                                                  Person A's Second
     Smart Contract               100 ETH
                                                       Address
        Address

        These two transactions form the foundation of the Tornado Cash
 mixing process. And the entire process occurs automatically—with no
 human intervention.
        But the Tornado Cash pool smart contracts depend on “a critical mass
 of users concurrently depositing and withdrawing transactions to obfuscate
 links between deposit and withdrawal addresses.” The more users deposit




                                       7
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            8 Date    Filed: 11/26/2024
                                                 12/18/24    Page 9 of 37



                                  No. 23-50669


 coins in a pool, the more anonymous it is. So if only one person were using
 the 100 ETH pool smart contract to mix their transfer, the transaction would
 be easily traceable:


                                  100 ETH Pool
                                                              Person A's
    Person A's                       Smart
                        100 ETH                  100 ETH       Second
     Address                        Contract
                                                               Address
                                    Address


 But if even five people were using the 100 ETH pool smart contract, it
 becomes more difficult to trace any transfer of 100 ETH to a particular
 address:




 Now imagine this complexity amplified with thousands of users. The result:
 a highly obfuscated blockchain that is much harder to trace and consequently
 renders the transactors far more anonymized.




                                       8
  Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                        Document      Page:Filed
                                            9 12/18/24
                                                 Date Filed: Page
                                                             11/26/2024
                                                                  10 of 37



                                  No. 23-50669


         Although some of the Tornado Cash-developed smart contracts were
  immutable from the start, the developers initially retained the ability to
  update the pool smart contracts’ codes—in other words, the pool smart
  contracts were originally mutable. But in 2020, the developers announced a
  “trusted setup ceremony” in which they would eliminate their control over
  the pool smart contracts. In that ceremony, more than 1,100 users
  participated, and at least twenty smart contracts—including the pool smart
  contracts—became irreversibly immutable. Consequently, the pool smart
  contracts became self-executing and could no longer be altered, removed, or
  controlled.
                                       C
         After the pool contracts became immutable, the original developers of
  Tornado Cash announced the creation of a decentralized autonomous
  organization (DAO) and a new crypto token called TORN, which can be
  transferred and sold on the blockchain like any other crypto asset. There are
  currently 1.5 million TORN tokens in circulation, and owning TORN
  allows, but does not require, individuals to vote on a limited subset of DAO
  governance issues. In fact, TORN holders must register their TORN tokens
  to be able to vote on any of those issues. To register their TORN tokens,
  individuals must lock their TORN into another mutable “governance”
  smart contract. Most TORN token holders have never taken these steps.
         The DAO can only vote to implement new projects and change
  certain optional Tornado Cash features. It cannot vote on or make any
  changes to immutable smart contracts, such as the pool smart contracts.
                                       D
         Even though the pool smart contracts help to anonymize transactions,
  those transactions aren’t fully anonymized because they still incur gas fees.
  The withdrawing account must pay the gas fee to the Ethereum network to




                                       9
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            10 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 11 of 37



                                    No. 23-50669


  extract Ether from a pool. And “sending Ether to the withdrawal account
  prior to withdrawal might create a link between the user’s deposit and
  withdrawal accounts”—the existence of which the Tornado Cash pool smart
  contracts are designed to obscure. For example, if the gas fee was 1 ETH, the
  transaction would still be traceable, as seen in the example below:




         To combat this problem, Tornado Cash developers continued to
  develop additional anonymity tools, such as the use of relayers, which are
  mutable smart contracts operated by third parties. Relayers function like
  middlemen who pay the gas fees from their own accounts, deducting the cost
  of those fees—as well as their own relayer fees—from the amount withdrawn
  from the pool. Relayers never have custody over users’ Ether, as the smart
  contract ensures that withdrawn Ether are only ever sent to the user’s
  withdrawal account. The relayers then send the remaining amount to the
  account receiving the withdrawal. Thus, the relayers can eliminate any link
  between the deposit and withdrawal accounts. For example, if the gas fee was
  1 ETH and the relayer fee was 2 ETH, the (simplified) complete transaction
  would look something like this:




                                        10
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            11 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 12 of 37



                                  No. 23-50669




         The Tornado Cash developers created a mutable smart contract that
  maintains a registry of relayers, separate from the immutable pool smart
  contracts. Anyone can become a relayer for Tornado Cash by staking a
  specified amount of TORN, at which point they are added to the relayer
  registry.
         For most (though not all) transactions processed by a third-party
  relayer, the mutable relayer-registry smart contract collects a fee from the
  relayer and pays it to the TORN token holders who have locked their
  TORN into the mutable governance smart contract. This fee is separate
  from the gas fee paid to the Ethereum network. For example, if the gas fee
  was 1 ETH, the relayer fee was 1 ETH, and the relayer-registry fee was 1
  ETH, the complete transaction would look something like this:




                                       11
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            12 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 13 of 37



                                   No. 23-50669




         The use of relayers—and the mutable relayer-registry smart
  contract—is entirely optional. Indeed, not all users of the immutable pool
  smart contracts use relayers.
                                        E
         The use of mixers like the Tornado Cash immutable smart contracts
  is, well, mixed. For example, law-abiding cryptocurrency users employ
  mixers to maintain anonymity concerning their net worth, spending habits,
  and donations to political causes. Mixers can also be used to thwart criminals
  that would use this information to identify potential victims or set up
  phishing schemes. For example, plaintiff Joseph Van Loon sought to use
  Tornado Cash to run a blockchain service without falling prey to malicious
  cyberattacks. Plaintiff Tyler Almeida used Tornado Cash to anonymously
  donate to the Ukrainian war effort because he was worried that Russian
  hacker groups would target him specifically if they were able to easily trace
  the donation back to him. Plaintiff Kevin Vitale turned to Tornado Cash after
  learning that someone had linked his crypto activities to his physical address.
  Plaintiff Alexander Fisher used Tornado Cash to develop code that improved




                                        12
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            13 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 14 of 37



                                       No. 23-50669


  the uses of the Ethereum blockchain network. And plaintiff Nate Welch used
  Tornado Cash to protect his privacy and to avoid harassment from malicious
  actors.
            However, mixers are also “go-to tool[s] for cybercriminals” seeking
  to launder stolen cryptocurrency. Nearly a quarter of funds sent to mixers in
  2022 were tied to money laundering efforts. Most relevant to this case, North
  Korea, through one of its cybercriminal organizations known as the Lazarus
  Group, has hacked and stolen just shy of one billion dollars’ worth of
  cryptocurrency. And all of that dirty money needed to be laundered before it
  could be cashed out for traditional (and far more liquid) fiat currencies. So
  North Korean hackers turned to mixers. More than 65 percent of North
  Korea’s dirty crypto went through mixers in 2021, “up from 42 percent in
  2020 and 21 percent in 2019.” And how does North Korea use this laundered
  money? To fund its weapons of mass destruction and ballistic missile
  programs.
                                           II
            We now turn to the relevant statutory authority and agency action.
            The International Emergency Economic Powers Act allows the
  President to exercise extraordinary economic powers after “declar[ing] a
  national emergency with respect to” “any unusual and extraordinary threat,
  which has its source in whole or substantial part outside the United States, to
  the national security, foreign policy, or economy of the United States.”8 This
  includes blocking “any property in which any foreign country or a national




            _____________________
            8
                50 U.S.C. § 1701(a).




                                            13
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            14 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 15 of 37



                                           No. 23-50669


  thereof has any interest.”9 Similarly, the North Korea Sanctions and Policy
  Enhancement Act permits the President to “designate . . . any person that
  [he] determines” is engaged in certain prohibited activities with respect to
  North Korea.10 Once the President designates a person, they are listed as an
  SDN, and the President may “exercise all of the powers granted to [him]
  under the International Emergency Economic Powers Act” “to the extent
  necessary to block and prohibit all transactions in property and interests in
  property of [that] person.”11
          President Obama invoked these Acts in two executive orders relevant
  to this case. First, he blocked the property and interests in property of those
  persons that the Department of the Treasury determined “to have materially
  assisted, sponsored, or provided financial, material, or technological support
  for, or goods or services to or in support of” North Korea or other persons
  that materially supported it in its “continuing pursuit” of “nuclear and
  missile programs.”12 Second, President Obama blocked the property and
  interests in property of both (1) “any person” determined by the Department
  to be “responsible for,” or “directly or indirectly” “engaged” in certain
  cyber-enabled activities that threaten the United States’ national security,
  foreign policy, and economy, and (2) any person determined “to have



          _____________________
          9
            Id. § 1702(a)(1)(B); see, e.g., Exec. Order No. 12,978, 60 Fed. Reg. 54,579 (Oct.
  21, 1995) (blocking assets of persons who “play a significant role in international narcotics
  trafficking centered in Colombia”); Exec. Order No. 13,382, 70 Fed. Reg. 38,567 (June 28,
  2005) (blocking assets of persons who have engaged in transactions that have materially
  contributed to the proliferation of weapons of mass destruction and their supporters).
          10
               22 U.S.C. § 9214(a), (b).
          11
               22 U.S.C. § 9214(c)(1); see also 22 U.S.C. § 9214(c)(2).
          12
               Exec. Order No. 13,722, 81 Fed. Reg. 14,943, 14,944 (Mar. 18, 2016).




                                                 14
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            15 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 16 of 37



                                          No. 23-50669


  materially assisted, sponsored, or provided financial, material, or
  technological support for” such activities.13
          Both orders confer rulemaking authority on the Department and allow
  it “to employ all powers granted to the President by [the Act] as may be
  necessary to carry out” their purposes.14 The Department, in turn, delegated
  authority to block persons under these orders to one of its internal agencies,
  the Office of Foreign Assets Control (OFAC).
          OFAC issued regulations through these delegations, including
  definitional regulations for the words “person,”15 “entity,”16 “property,”17
  and “interest.”18 It also provided avenues for those affected by blocking
  designations to present a challenge, and it sometimes grants licenses to
  engage in transactions involving blocked property.19
                                                A
          On August 8, 2022, OFAC designated as entities the website
  tornado.cash, 37 Tornado Cash smart contracts (including at least twenty
  immutable smart contracts), and an address that was used to accept
  donations, citing North Korea’s use of Tornado Cash to commit cybercrimes
          _____________________
          13
               Exec. Order No. 13,694, 80 Fed. Reg. 18,077 (Apr. 2, 2015).
          14
            80 Fed. Reg. at 18,079; 81 Fed. Reg. at 14,945; see 50 U.S.C. § 1704 (authorizing
  the President to “issue such regulations, including regulations prescribing definitions, as may
  be necessary for the exercise of the authorities granted” by IEEPA (emphasis added)).
          15
               31 C.F.R. §§ 510.322, 578.313.
          16
               Id. §§ 510.305, 578.305.
          17
               Id. §§ 510.323, 578.314.
          18
               Id. §§ 510.313, 578.309.
          19
            Id. §§ 501.807 (outlining procedures governing delisting from the SDN list),
  510.501 (concerning licensing procedures), 578.404 (concerning the blocking of
  transactions ordinarily incident to a licensed transaction).




                                                15
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            16 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 17 of 37



                                           No. 23-50669


  like the laundering of stolen crypto.20 Three months later, OFAC withdrew
  the August 8 designation and issued a new designation, which included 53
  Ethereum addresses associated with the Tornado Cash software. The
  designations identified Tornado Cash as an entity organized by and under its
  DAO, and in doing so blocked “all real, personal, and other property and
  interests in property” of the designated Tornado Cash entity subject to U.S.
  jurisdiction. OFAC does not claim that Tornado Cash software is itself a
  product of North Korea or in any way owned or controlled by North Korea—
  but rather that some transactions using Tornado Cash software involved the
  North Korean Lazarus Group. The Lazarus Group had already been added
  to the SDN list. After it added Tornado Cash to the SDN list, OFAC issued
  notices reminding Tornado Cash users that they could request licenses to
  retrieve funds trapped within Tornado Cash pools and made clear that people
  could interact with its open-source code, just not with its transaction and
  pooling functions.21
         Six Tornado Cash users sued the Department under three theories.
  Their primary theory, and the only one advanced on appeal,22 asserts that
  OFAC violated the Administrative Procedure Act.23 They claim that
  OFAC lacked the authority to designate Tornado Cash as an SDN because
  (1) Tornado Cash is not a foreign “national” or “person,” (2) the immutable
  pool smart contracts are not “property,” and (3) Tornado Cash cannot have

         _____________________
         20
              80 Fed. Reg. at 18,077; 81 Fed. Reg. at 14,943.
         21
           See OFAC, U.S. Dep’t of the Treasury, Frequently Asked Questions (Sept. 13,
  2022), available at https://ofac.treasury.gov/faqs/topic/1546 [https://perma.cc/9FDC-
  42M4].
         22
         The users also claimed that OFAC’s designation violated the First and Fifth
  Amendments but did not appeal their loss on those grounds.
         23
              5 U.S.C. §§ 551 et seq.; 5 U.S.C. §§ 701 et seq.




                                                 16
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            17 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 18 of 37



                                           No. 23-50669


  a property “interest” in the immutable smart contracts. The district court
  granted the Department’s motion for summary judgment and denied that of
  the Tornado Cash users, concluding: (1) Tornado Cash is an “entity that may
  be properly designated as a person under IEEPA,” (2) that smart contracts
  constitute “property,” (3) and that the DAO, which runs Tornado Cash, has
  an “interest” in its smart contracts because it derives profits from its crypto
  mixing and relaying services that run on smart contracts.
          The Tornado Cash users timely appealed.
                                                III
          We review cross-motions for summary judgment de novo.24 Summary
  judgment is warranted if “there is no genuine dispute as to any material fact
  and the movant is entitled to judgment as a matter of law.”25 When parties
  file cross-motions for summary judgment, we review “each party’s motion
  independently, viewing the evidence and inferences in the light most
  favorable to the nonmoving party.”26
          Because “the actions of the Treasury Department in designating”
  Tornado Cash “are governed by the judicial review provisions of the APA,”
  we must affirm “if [] OFAC’s actions were not arbitrary and capricious, and
  were based on substantial evidence.”27




          _____________________
          24
               Morgan v. Plano Indep. Sch. Dist., 589 F.3d 740, 745 (5th Cir. 2009).
          25
               Fed. R. Civ. P. 56(a).
          26
               Ford Motor Co. v. Tex. Dep’t of Transp., 264 F.3d 493, 498 (5th Cir. 2001).
          27
              Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156, 162 (D.C. Cir. 2003);
  see also 5 U.S.C. § 706(2)(A).




                                                 17
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            18 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 19 of 37



                                            No. 23-50669


                                                   IV
          The International Emergency Economic Powers Act and the North
  Korea Sanctions and Policy Enhancement Act vest the President with the
  authority to regulate (or block) “property”28 in which a foreign “national”
  or “person” (or “entity”)29 has an “interest.”30 Van Loon argues that the
  district court erred in giving “heightened deference” to OFAC’s definition
  of “property” and in finding that the immutable smart contracts met that
  definition. We agree. And because that element is dispositive, we need not
  address the other elements.
                                                   A
          This case is only the fifteenth in this circuit31 to consider agency
  deference in the wake of Loper Bright v. Raimondo,32 which overruled
  Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc.33 and
  eliminated the “judicial invention” of deference to administrative action and
  rulemaking.34
          In Loper Bright, the Supreme Court “clarified ‘the unremarkable, yet
  elemental proposition reflected in judicial practice dating back to Marbury’
  that ‘courts decide legal questions by applying their own judgment,’ even in

          _____________________
          28
               50 U.S.C. § 1702(a)(1)(B); 22 U.S.C. § 9214(c)(1), (2).
          29
               22 U.S.C. § 9214(a)–(c); 50 U.S.C. § 1702(a).
          30
               50 U.S.C. § 1702(a)(1)(B); 22 U.S.C. § 9214(c)(1), (2).
          31
            Many of these cases remanded to the district court for initial review in light of
  Loper Bright. See, e.g., Utah v. Su, 109 F.4th 313, 322 (5th Cir. 2024); Arnesen v. Raimondo,
  No. 24-60055, 2024 WL 3912178, at *3 (5th Cir. Aug. 23, 2024).
          32
               144 S. Ct. 2244 (2024).
          33
               467 U.S. 837 (1984).
          34
               Loper Bright, 144 S. Ct. at 2272.




                                                   18
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            19 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 20 of 37



                                            No. 23-50669


  agency cases.”35 When “Congress has clearly delegated discretionary
  authority to an agency, we discharge our duty by ‘independently
  interpret[ing] the statute and effectuat[ing] the will of Congress subject to
  constitutional limits.’”36 In effect, the Supreme Court has instructed that we
  must “independently identify and respect [constitutional] delegations of
  authority, police the outer statutory boundaries of those delegations, and
  ensure that agencies exercise their discretion consistent with” the
  Administrative Procedure Act or have engaged in reasoned decisionmaking
  within those boundaries.37 To do so, we must “determine the ‘best’ reading
  of a statute; a merely ‘permissible’ reading is not enough.”38
                                                   B
          “As usual, we start with the statutory text.”39 Where a statute leaves
  terms undefined, we accord those terms their “ordinary, contemporary,
  common meaning.”40 And the “ordinary” or “plain” meaning of
  “property” compels summary judgment in Van Loon’s favor.
          Under the International Emergency Economic Powers Act, the
  President is permitted to “block . . . any property in which any foreign country


          _____________________
          35
             Mayfield v. United States Dep’t of Lab., No. 23-50724, 2024 WL 4142760, at *4
  (5th Cir. Sept. 11, 2024) (quoting Loper Bright, 144 S. Ct. at 2261).
          36
               Id. (alteration in original) (quoting Loper Bright, 144 S. Ct. at 2263).
          37
             Id. (alteration in original) (internal quotation marks omitted) (quoting Loper
  Bright, 144 S. Ct. at 2263, 2268).
          38
               Id. (quoting Loper Bright, 144 S. Ct. at 2266).
          39
               Tanzin v. Tanvir, 592 U.S. 43, 46 (2020).
          40
             Rest. L. Ctr. v. United States Dep’t of Lab., No. 23-50562, 2024 WL 3911308, at
  *5 (5th Cir. Aug. 23, 2024) (internal quotation marks and citations omitted); see also Conn.
  Bank of Com. v. Republic of Congo, 309 F.3d 240, 260 (5th Cir. 2002).




                                                   19
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            20 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 21 of 37



                                          No. 23-50669


  or a national thereof has any interest.”41 Although the statute does not define
  “property,” property has a plain meaning: It is capable of being owned.
          First, take dictionary definitions contemporaneous with the statute’s
  passage in 1977.42 Property includes “everything which is or may be the
  subject of ownership, whether a legal ownership, or whether beneficial, or a
  private ownership.”43 Similarly, it is “the condition of being owned by or

          _____________________
          41
               50 U.S.C.A. § 1702(1)(1)(B).
          42
             See 50 U.S.C. § 1702; Taniguchi v. Kan Pacific Saipan, Ltd., 566 U.S. 560, 566–
  69 (2012) (discussing usefulness of contemporary dictionary definitions in interpreting
  statutes); VanDerStok v. Garland, 86 F.4th 179, 189 (5th Cir. 2023), cert. granted, 144 S. Ct.
  1390 (2024) (“[T]he meanings of statutes do not change with the times. ‘This Court
  normally interprets a statute in accord with the ordinary public meaning of its terms at the
  time of its enactment. After all, only the words on the page constitute the law adopted by
  Congress and approved by the President.’” (quoting Bostock v. Clayton Cnty., 590 U.S. 644,
  654 (2020))). And as additional support, the meaning of “property” hasn’t changed over
  time. See Property, Webster’s New International Dictionary of the
  English Language 1984 (2d ed. 1941) (“the exclusive right to possess, enjoy, and
  dispose of, a thing; ownership”); Noah Webster, Property, American
  Dictionary              of         the          English           Language            (1828),
  https://webstersdictionary1828.com/Dictionary/Property            [https://perma.cc/6CWZ-
  6BXM] (“The exclusive right of possessing, enjoying and disposing of a thing;
  ownership”); Samuel Johnson, Property, Dictionary of the English
  Language            (1773),       https://johnsonsdictionaryonline.com/1773/property_ns
  [https://perma.cc/QH5Y-CFSY] (defining property as the “right of possession” and “the
  thing possessed” and referring to “[p]roperty, whose original is from the right a man has
  to use any of the inferior creatures, for subsistence and comfort, is for the sole advantage
  of the proprietor, so that he may even destroy the thing that he has property in. Locke.”);
  see also Missouri Pac. R. Co. v. United States, 271 U.S. 603, 607 (1926) (“In a sense, words
  do not change their meaning.”); Jennifer Senior, In Conversation: Antonin Scalia, New
  York Magazine (Oct. 4, 2013), https://nymag.com/news/features/antonin-scalia-
  2013-10/ [https://perma.cc/QJC2-H8PK] (“Words have meaning. And their meaning
  doesn’t change.”).
          43
            Property, Black’s Law Dictionary 1095 (5th ed. 1979); see also Property,
  The Random House College Dictionary 1061 (1973) (“ownership; right of
  possession or disposal of anything”); Property, The Random House College
  Dictionary 1061 (1982) (same).




                                               20
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            21 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 22 of 37



                                         No. 23-50669


  belonging to some person or persons”44 and encompasses “the right to
  possess, use, and dispose of something.”45 It also includes the right “to
  exclude everyone else from interfering with it.”46 And even the Department
  seems to agree:
          The term “property” refers to “the rights in a valued resource such
          as land, chattel, or an intangible,” and can be applied “to every kind
          of valuable right and interest that can be made the subject of ownership.”
          The term “ownership” refers to “[t]he bundle of rights allowing one
          to use, manage, and enjoy property.”47
  Sure, “[o]wnership does not always mean absolute dominion,”48 but it at least
  requires some dominion.
          The Supreme Court—and a long history of scholarship, beginning
  with William Blackstone—has reaffirmed this ordinary meaning. The
  Supreme Court has defined property as “all objects or rights which are




          _____________________
          44
               Property, Oxford English Dictionary (2d ed. 1989).
          45
           Property, Webster’s New World Dictionary of the American
  Language 1167 (college ed. 1968) (“the right to possess, use, and dispose of something;
  ownership” or “a thing or things owned”).
          46
             Property, Black’s Law Dictionary 1382 (4th ed. 1968) (“that which is
  peculiar or proper to any person; that which belongs exclusively to one… more specifically,
  ownership the unrestricted and exclusive right to a thing; the right to dispose of a thing in
  every legal way, to possess it, to use it, and to exclude every one else from interfering with
  it”).
          47
         Brief of Appellee at 36 (emphasis added) (citing Property, Black’s Law
  Dictionary (12th ed. 2024) (quotation marks omitted); Ownership, Black’s Law
  Dictionary (12th ed. 2024)).
          48
            Brief of Appellee at 37 (emphasis added) (citing Marsh v. Alabama, 326 U.S. 501,
  506 (1946)).




                                               21
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            22 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 23 of 37



                                         No. 23-50669


  susceptible of ownership.”49 Indeed, when someone has a property interest,
  he or she typically has the “rights of possession and control.”50 And “one of
  the most essential sticks in the bundle of rights that are commonly
  characterized as property” is “the right to exclude others.”51
          The immutable smart contracts at issue in this appeal are not property
  because they are not capable of being owned. More than one thousand
  volunteers participated in a “trusted setup ceremony” to “irrevocably
  remov[e] the option for anyone to update, remove, or otherwise control those
  lines of code.” And as a result, no one can “exclude” anyone from using the
  Tornado Cash pool smart contracts. In fact, because these immutable smart
  contracts are unchangeable and unremovable, they remain available for
  anyone to use and “the targeted North Korean wrongdoers are not actually
  blocked from retrieving their assets,” even under the sanctions regime. Simply
  put, regardless of OFAC’s designation of Tornado Cash, the immutable
          _____________________
          49
             Meyer v. United States, 364 U.S. 410, 412 n.3 (1960); see also United States v.
  Blagojevich, 794 F.3d 729, 736 (7th Cir. 2015); Haze El Bey Express Tr. v. Hill, No. 20-cv-
  3516, 2021 WL 3829162, at *3 (S.D. Tex. Apr. 22, 2021).
          50
             Property Interest, Black’s Law Dictionary (12th ed. 2024) (“[a]n interest,
  perhaps including rights of possession and control, held by an owner, beneficiary, or
  remainderman in land, real estate, business, or other tangible items”); see also United States
  v. Craft, 535 U.S. 274, 278 (2002) (“A common idiom describes property as a ‘bundle of
  sticks’—a collection of individual rights which, in certain combinations, constitute
  property.” (citing Benjamin Cardozo, Paradoxes of Legal Science 129
  (reprt. 2000) (1928); Dickman v. Commissioner, 465 U.S. 330, 336 (1984))).
          51
             Dolan v. City of Tigard, 512 U.S. 374, 384 (1994) (internal quotation marks and
  citation omitted); see also Cedar Point Nursery v. Hassid, 594 U.S. 139, 149–50 (2021) (“The
  right to exclude is ‘one of the most treasured’ rights of property ownership. According to
  Blackstone, the very idea of property entails ‘that sole and despotic dominion which one
  man claims and exercises over the external things of the world, in total exclusion of the
  right of any other individual in the universe.’” (citing 2 W. Blackstone,
  Commentaries on the Laws of England 2 (1766))); Thomas Merrill, Property
  and the Right to Exclude, 77 Neb. L. Rev. 730, 752 (1998) (calling the right to exclude the
  “sine qua non” of property).




                                               22
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            23 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 24 of 37



                                         No. 23-50669


  smart contracts continue operating. And furthermore, because the software
  continues to operate regardless of the sanctions, and the blockchain
  technology “allows peer-to-peer transfers . . . without requiring the recipient
  to consent to transfer,” some users may become liable whenever someone
  transfers them digital assets via Tornado Cash, even without their knowledge
  or consent.
          Sure, some smart contracts are capable of being owned in the sense
  that Tornado Cash developers can create new smart contracts and
  disconnect old mutable contracts. In theory, should Tornado Cash developers
  choose to comply with sanctions on mutable smart contracts, those
  developers could disconnect those mutable smart contracts to make them
  inaccessible and unusable by anyone on the Ethereum blockchain. But they
  cannot discard, change, disconnect, or control smart contracts that are
  immutable—like the ones currently listed on OFAC’s SDN list and at issue
  in this appeal. Even with the sanctions in place, “those immutable smart
  contracts remain accessible to anyone with an internet connection.”
                                               C
          Our inquiry could end here: The plain meaning of “property” in the
  Act does not support the Department’s designation of Tornado Cash. But
  the Department points us to “OFAC’s longstanding regulatory definition of
  ‘any property,’” which includes “contracts of any nature” and “services of
  any nature,” and suggests that OFAC’s definition supports the smart
  contracts’ status as “property” under the Act. Regardless of whether Loper
  Bright does or does not require us to assess OFAC’s definition,52 (1) even

          _____________________
          52
            Loper Bright, 144 S. Ct. at 2263 (recognizing that a “statute’s meaning may well
  be that the agency is authorized to exercise a degree of discretion” when the statute
  “‘expressly delegate[s]’ to an agency the authority to give meaning to a particular statutory




                                               23
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            24 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 25 of 37



                                           No. 23-50669


  under OFAC’s definitions, the immutable smart contracts still must be
  ownable; (2) they aren’t contracts; and (3) they aren’t services. And
  accordingly, the immutable smart contracts are outside the scope of
  OFAC’s designation authority.
                                                 1
          Assuming we were to consider OFAC’s regulatory definition of
  “property,” the immutable smart contracts cannot qualify because they are
  incapable of being owned. Indeed, OFAC’s regulatory definition embraces
  the plain meaning of “property,” as OFAC merely provides a laundry list of
  “illustrative examples, all of which are items typically understood as
  belonging to individuals or entities.”53 For example, according to OFAC,
  “[t]he terms property and property interest include money, checks,
  drafts, . . . services of any nature whatsoever, contracts of any nature
  whatsoever, and any other property, real, personal, or mixed, tangible or

          _____________________
  term,” “‘fill up the details’ of a statutory scheme,” or “regulate subject to the limits
  imposed by a term or phrase that ‘leaves agencies with flexibility, . . . such as ‘appropriate’
  or ‘reasonable.’” (emphasis added) (internal citations omitted)).
          53
              See 31 C.F.R. § 510.323 (“The terms property and property interest include
  money, checks, drafts, bullion, bank deposits, savings accounts, debts, indebtedness,
  obligations, notes, guarantees, debentures, stocks, bonds, coupons, any other financial
  instruments, bankers acceptances, mortgages, pledges, liens or other rights in the nature of
  security, warehouse receipts, bills of lading, trust receipts, bills of sale, any other evidences
  of title, ownership, or indebtedness, letters of credit and any documents relating to any
  rights or obligations thereunder, powers of attorney, goods, wares, merchandise, chattels,
  stocks on hand, ships, goods on ships, real estate mortgages, deeds of trust, vendors' sales
  agreements, land contracts, leaseholds, ground rents, real estate and any other interest
  therein, options, negotiable instruments, trade acceptances, royalties, book accounts,
  accounts payable, judgments, patents, trademarks or copyrights, insurance policies, safe
  deposit boxes and their contents, annuities, pooling agreements, services of any nature
  whatsoever, contracts of any nature whatsoever, and any other property, real, personal, or
  mixed, tangible or intangible, or interest or interests therein, present, future, or
  contingent.”).




                                                 24
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            25 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 26 of 37



                                         No. 23-50669


  intangible, or interest or interests therein, present, future, or contingent.”54
  Common sense agrees—everything from money, mortgages, and
  merchandise to debts, debentures, and deeds is ownable.55 Even “contracts
  of any nature whatsoever” and “services of any nature whatsoever” are
  intangible things in which individuals or organizations may own rights.56
          Even if these terms were not clear, canons of interpretation aid our
  understanding. For starters, the noscitur a sociis canon instructs that
  “particular words or phrases” should be understood “in relation to the
  words or phrases surrounding them.”57 Applying that canon, “services,”
  “contracts,” and “any other property” should be interpreted similarly to the
  rest of OFAC’s laundry list of “property” examples—which are all things
  that are capable of being owned. Ejusdem generis adds additional clarity:
  “[W]hen a general term follows a specific one, the general term should be
  understood as a reference to subjects akin to the one with specific
  enumeration.”58 “Any other property” is a general term following a list of
  specific ones, and thus, it should be construed—as should “any contracts”

          _____________________
          54
               Id.
          55
               See id.
          56
             See, e.g., Lynch v. United States, 292 U.S. 571, 577 (1934); Commissioner v.
  Covington, 120 F.2d 768, 771 (5th Cir. 1941) (Holmes, J., concurring).
          57
             United States v. Koutsostamatis, 956 F.3d 301, 307 n.2 (5th Cir. 2020); see also
  United States v. Lauderdale Cnty., Mississippi, 914 F.3d 960, 966 (5th Cir. 2019) (“[W]e rely
  on the principle of noscitur a sociis—a word is known by the company it keeps—to ‘avoid
  ascribing to one word a meaning so broad that it is inconsistent with its accompanying
  words, thus giving unintended breadth to the Acts of Congress.’” (citing Yates v. United
  States, 574 U.S. 528, 543 (2015))); Antonin Scalia & Bryan A. Garner,
  Reading Law: The Interpretation of Legal Texts 176–79 (2011).
          58
            Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 223 (2008) (quoting Norfolk & Western
  R. Co. v. Train Dispatchers, 499 U.S. 117, 129 (1991)); see also Scalia, supra note 57, at
  180–90.




                                               25
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            26 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 27 of 37



                                          No. 23-50669


  and “any services”—as a reference akin to the lengthy list of exemplar,
  ownable property.59
          To evade this requirement of “ownership,” the Department conflates
  a separate element of the statute, “interest,” with “property” to suggest that
  “Tornado Cash profits from—and therefore has an interest in—the smart
  contracts that embody the mixing service it provides” and are thus analogous
  to patents and copyrights, which are undisputedly within the scope of
  OFAC’s definition of property.60 But Tornado Cash smart contracts are
  different from patents and copyrights in two important ways.
          First, Tornado Cash doesn’t profit from the immutable smart
  contracts at issue in this appeal. Some relayers and TORN token holders may
  receive fees from using the mutable relayer-registry smart contracts, but not
  from the immutable pool smart contracts. The Department has failed to
  provide us with evidence that any foreign nationals chose to stake their
  TORN and thus receive relayer fees. Nor does the record suggest that
  Tornado Cash itself, which is the designated “entity,”61 receives fees from
  transactions through either mutable or immutable contracts. And none of the
  immutable smart contracts entitle the smart-contract creators to a benefit.

          _____________________
          59
             See, e.g., Washington State Dept. of Social and Health Servs. v. Guardianship Estate
  of Keffeler, 537 U.S. 371, 375 (2003) (finding “other legal process” was limited to legal
  processes of the same nature as the specific items listed immediately preceding); Dolan v.
  Postal Service, 546 U.S. 481, 486–89 (2006); United States v. Aguilar, 515 U.S. 593, 615
  (1995) (Scalia, J., concurring in part and dissenting in part) (rejecting the applicability
  of ejusdem generis to an omnibus clause that was “one of ... several distinct and independent
  prohibitions” rather than “a general or collective term following a list of specific items to
  which a particular statutory command is applicable”).
          60
                See 31 C.F.R. § 510.323 (“The terms property and property interest
  include . . . patents, trademarks or copyrights . . .”).
          61
            We take no position on whether Tornado Cash qualifies as an “entity” under the
  International Emergency Economic Powers Act.




                                                26
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            27 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 28 of 37



                                          No. 23-50669


          Second, patents and copyrights are ownable, just like everything else
  in OFAC’s regulatory definition. Though they are intangible, someone owns
  the right to the protections and benefits offered by patents and copyrights.62
  The same cannot be said for these smart contracts. And, in any event, as the
  Tornado Cash users note, this justification for the regulation was not
  included in the Department’s evidentiary memorandum and thus may not be
  used now.63
          As a last resort, the Department emphasizes the final catch-all for
  “any other property.” But the catch-all is not as expansive as the Department
  suggests; it still requires that “any . . . property” actually be, well, property.
  Adding an “any” before a word doesn’t change that word’s meaning.64
          Because even OFAC’s regulatory definition requires that property be
  ownable, the immutable smart contracts are beyond the scope of OFAC’s
  blocking power.
                                                2
          OFAC’s definition of property includes “contracts of any nature
  whatsoever,”65 but contrary to the Department’s argument (and the



          _____________________
          62
            See, e.g., Matter of Imperial Petroleum Recovery Corp., 84 F.4th 264, 272–73 (5th
  Cir. 2023) (referring to ownership of intangibles, including patents and intellectual
  property); Polaris PowerLED Techs., L.L.C. v. Samsung Elecs. Am., Inc., No. 2:17-CV-00715-
  JRG, 2019 WL 1399927, at *3 (E.D. Tex. Mar. 28, 2019) (referring to ownership of patent);
  Goodman v. Lee, 78 F.3d 1007, 1012 (5th Cir. 1996) (referring to ownership of copyright).
          63
               See SEC v. Chenery Corp., 332 U.S. 194, 196 (1947).
          64
            See 50 U.S.C. § 1702(a)(1)(B); cf. Ali, 552 U.S. at 219 (“Read naturally, the word
  ‘any’ has an expansive meaning, that is, ‘one or some indiscriminately of whatever kind.’”
  (quoting United States v. Gonzales, 520 U.S. 1, 5 (1997)).
          65
               31 C.F.R. § 510.323.




                                                27
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            28 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 29 of 37



                                     No. 23-50669


  misleading name of the software), the immutable smart contracts are not
  contracts.
         The Department contends—and the district court agreed—that the
  immutable smart contracts “are merely a code-enabled species of unilateral
  contracts,” and “Tornado Cash promoted and advertised the contracts and
  its abilities and published the code with the intention of people using it—
  hallmarks of a unilateral offer to provide services.” But in so finding, the
  district court ignored basic principles of black-letter contract law: Unilateral
  or not, contracts require “[a]n agreement between two or more parties.”66
  Immutable smart contracts have only one party in play.
         Compare mutable and immutable smart contracts. Mutable smart
  contracts “could, at most, facilitate the creation of a contract between the
  smart contract’s operator and a third party” through use of the smart
  contract, “but the smart contract is not itself a contract.” For example, if a
  mixer was mutable—or in other words, controllable or custodial—the
  mixer’s operator or owner could offer to mix deposits, which a third-party
  user could accept by transferring Ether to the operator’s mixer-smart
  contract. The operator controlling the smart contract would use the mixer-
  smart contract to fulfill the contract by taking control of the third-party user’s
  deposit, mixing the third-party user’s deposit with others in the pool, then
  withdrawing the deposit to another account, as determined by the third-party
  user. In that case, someone is always handling the Ether.
         On the other hand, when choosing to use or interact with an immutable
  smart contract, a third-party user could make an offer, but there is no smart-
  contract operator on the other side of the transaction to accept or make a
  counteroffer—just software code. Because no one can control immutable
         _____________________
         66
              Contract, Black’s Law Dictionary 404 (12th ed. 2024).




                                          28
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            29 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 30 of 37



                                         No. 23-50669


  smart contracts (or the Ether deposited in the pools), there is no party with
  which to contract.
          Furthermore, unilateral contracts can be revoked “at any time until
  performance has been completed by the offeree.”67 Even assuming the
  Tornado Cash developers made an offer by creating the smart contracts and
  publicizing the code to be used for mixing and pooling, they revoked their
  offer—and any role in it—by changing the code to be immutable, thus
  running independently and autonomously. And regardless of whether
  Tornado Cash advertises the immutable smart contracts on its website, that
  does not change the simple fact that Tornado Cash does not—and cannot—
  own or control them.
          The district court analogized to a vending machine to find the
  immutable smart contracts are unilateral contracts. But even if the immutable
  smart contracts were, at some point, a “vending machine,” they are no
  longer. For example, a vending machine has an owner—or counter-party—
  who can exercise some control over it. He can update or remove inventory or
  can unplug, move, or, if he so chose, destroy the vending machine. And the
  vending machine’s owner can revoke the open offer to purchase snacks or
  drinks at a set price (by turning off the vending machine). But here, Tornado
  Cash has no control over these immutable smart contracts. It cannot change
  the code, delete the code, or remove the code from the Ethereum blockchain
  network. In other words, Tornado Cash cannot “unplug” the immutable
  smart contracts. Even if Tornado Cash did not want North Korea, the

          _____________________
          67
            Williston on Contracts § 5:15 (citing Restatement (Second) of Contracts § 45); see
  also 1 Richard A. Lord, Williston on Contracts § 5:10 (4th ed. online) (last updated May
  2023); Restatement (Second) of Contracts § 42 (1981) (stating that “[a]n offeree’s power of
  acceptance is terminated when the offeree receives from the offeror a manifestation of an
  intention not to enter into the proposed contract”).




                                              29
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            30 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 31 of 37



                                          No. 23-50669


  Lazarus Group, or anyone else, for that matter, using the immutable smart
  contracts that the Tornado Cash developers created, Tornado Cash—let
  alone the Department—would be powerless to stop them. Though there is a
  potential argument that there were revocable offers prior to 2020—though
  we see none—the offers were revoked permanently when the smart contracts
  became immutable and the Tornado Cash developers removed any ability to
  control or own those smart contracts.
          The blockchain caselaw relied upon by the district court is not to the
  contrary. Indeed, those cases accepted the allegations in the respective
  complaints as true at the motion-to-dismiss stage,68 did not suggest the at-
  issue smart contracts were immutable,69 and recognized that the smart
  contracts which qualified as “contracts” involved multiple parties.70
          The Department points to some state laws that have been passed to
  ensure “[n]o contract relating to a transaction shall be denied legal effect,
  validity, or enforceability solely because that contract is executed through a


          _____________________
          See Snyder v. STX Techs., Ltd., No. 19-6132 RJB, 2020 WL 5106721, at *2–3, 5
          68

  (W.D. Wash. Aug. 31, 2020).
          69
            See Williams v. Block one, No. 20-CV-2809 (LAK), 2022 WL 5294189, at *2 n.19
  (S.D.N.Y. Aug. 15, 2022) (“Smart contracts ‘are programs that verify and enforce the
  negotiation or performance of binary contracts’ and ‘thus are self-executing and self-
  enforcing, making the transactions more secure and less costly.’” (internal citation
  omitted)); id. at *3.
          70
             See In re Bibox Grp. Holdings Ltd. Sec. Litig., 534 F. Supp. 3d 326, 330 (S.D.N.Y.
  2021) (“A smart contract allows the parties to define the terms of their contract and submit
  the crypto-assets contemplated in the contract to a secure destination. The smart contract
  then automatically distributes the crypto-assets to the appropriate party upon the satisfaction
  of the relevant conditions precedent defined in the smart contract.” (emphases added));
  Rensel v. Centra Tech, Inc., No. 17-24500-CIV, 2018 WL 4410110, at *10 (S.D. Fla. June 14,
  2018) (“Smart contracts are self-executing contracts with the terms of the agreement
  between buyer and seller being directly written into lines of code.” (emphasis added)).




                                                30
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            31 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 32 of 37



                                           No. 23-50669


  smart contract.”71 But those laws seem to target automatic operation of a
  contract (how smart contracts operate) between two willing parties through
  software, rather than supposed “contracts” with a software. Indeed, those
  laws do not recognize the difference between mutable smart contracts—in
  which there is a party controlling the software, and thus, a party with which
  to contract—and immutable smart contracts—in which there is no party with
  which to contract.
           Accordingly, the immutable smart contracts—regardless of their
  misleading name—are not “contracts” under OFAC’s definition of
  “property.”
                                                3
           The Department also contends that the immutable smart contracts
  qualify as “services of any nature whatsoever.”72 But the immutable smart
  contracts “provide . . . services”; they are not services themselves.
           In the Department’s view, a service is “the performance of some
  useful act or series of acts for the benefit of another, us[ually] for a fee.”73
  But according to Black’s Law Dictionary, “[i]n this sense, service denotes an
  intangible commodity in the form of human effort, such as labor, skill, or
  advice.”74 No human effort is expended by the immutable smart contracts.
  And even by the Department’s definition, the immutable smart contracts,
  which are nothing more than lines of code, are less like a “service” and more

           _____________________
           71
           Tenn. Code. Ann. § 47-10-202(c); see also, e.g., Ariz. Rev. Stat. Ann.
  § 44-7061 (similar).
           72
                See 31 C.F.R. § 510.323.
           73
                See Brief of Appellee at 24 (citing Service, Black’s Law Dictionary (11th
  ed.)).
           74
                Service, Black’s Law Dictionary (12th ed.).




                                                31
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            32 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 33 of 37



                                       No. 23-50669


  like a tool that is used in performing a service.75 That is not the same as being a
  service.
          The software codes here—the twenty Tornado Cash addresses for
  immutable smart contracts—are tools used in providing a service of pooling
  and mixing the deposited Ether prior to withdrawal. Indeed, the immutable
  smart contract provides a “service” only when an individual cryptocurrency
  owner makes the relevant input and withdrawal from the smart contract; at
  that point, and only at that point, the immutable smart contract mixes
  deposits, provides the depositor a withdrawal key, and, when provided with
  that key, sends the specified amount to the designated withdrawal account.
  In short, the immutable smart contract begins working only when prompted
  to do so by a deposit or entry of a key for withdrawal.
          More importantly, Tornado Cash, as defined by OFAC, does not own
  the services provided by the immutable smart contracts. A homeowner may
  own the right to trash-removal services and a client may own the right to legal
  services performed by a lawyer, but neither the homeowner nor the client
  owns the person performing the trash-removal services or the lawyer—for
  good reason. Similarly, Tornado Cash as an “entity” does not own the
  immutable smart contracts, separate and apart from any rights or benefits of
  the services performed by the immutable smart contracts.76



          _____________________
          75
           A tool is “something (such as an instrument or apparatus) used in performing an
  operation . . . .” Tool, Merriam-Webster, https://www.merriam-
  webster.com/dictionary/tool [https://perma.cc/M2Y5-L26L] (last accessed Sept. 19,
  2024).
          76
            Ante, at 26–27. We take no position on whether Tornado Cash as an “entity,” as
  defined by the Department, has an “interest” in the immutable smart contracts under the
  International Emergency Economic Powers Act.




                                            32
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            33 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 34 of 37



                                          No. 23-50669


         Contrary to the Department’s arguments, the immutable smart
  contracts are not services. So even when we consider OFAC’s regulatory
  definitions, the immutable smart contracts are not property because they are
  not ownable, not contracts, and not services.
                                                V
         “Our Constitution’s ingenious design demands that judges be
  sticklers when it comes to decoding legislative text.”77 Because these
  immutable smart contracts are not “property” under the word’s common,
  ordinary meaning or under OFAC definitions, we hold that OFAC
  exceeded its statutory authority. Accordingly, we need not address whether
  Tornado Cash qualifies as an “entity” or whether it has an “interest” in the
  immutable smart contracts.
         We readily recognize the real-world downsides of certain
  uncontrollable technology falling outside of OFAC’s sanctioning authority.
  Presidential administrations are rightly concerned with malicious cyber-
  enabled activities, and IEEPA became law in 1977, years before the modern
  Internet was even invented. But we must uphold the statutory bargain struck
  (or mis-struck) by Congress, not tinker with it. “[T]he foremost task of legal
  interpretation is divining what the law is, not what the judge-interpreter
  wishes it to be.”78 IEEPA grants the President broad powers to regulate a
  variety of economic transactions, but its language is not limitless. Mending a
  statute’s blind spots or smoothing its disruptive effects falls outside our lane.
  We decline the Department’s invitation to judicial lawmaking—revising



         _____________________
         77
              Reed v. Taylor, 923 F.3d 411, 415 (5th 2019).
         78
              Id.




                                                33
 Case:
Case    23-50669    Document:
     1:23-cr-00430-KPF        123-1112-1
                         Document     Page:Filed
                                            34 12/18/24
                                                 Date Filed:Page
                                                            11/26/2024
                                                                 35 of 37



                                         No. 23-50669


  Congress’s handiwork under the guise of interpreting it. Legislating is
  Congress’s job—and Congress’s alone.79
          Accordingly, we REVERSE and REMAND to the district court
  with instructions to grant Van Loon’s partial motion for summary judgment
  based on the Administrative Procedure Act.




          _____________________
          79
             See, e.g., Epic Sys. Corp. v. Lewis, 584 U.S. 497, 511 (2018) (“[I]t’s the job of
  Congress by legislation, not this Court by supposition, both to write the laws and to repeal
  them.”); Gamble v. United States, 587 U.S. 678, 717 (2019) (J. Thomas, concurring)
  (“The Constitution, federal statutes, and treaties are the law, and the systematic
  development of the law is accomplished democratically. Our judicial task is modest: We
  interpret and apply written law to the facts of particular cases.”).




                                              34
     Case:
   Case    23-50669    Document:
        1:23-cr-00430-KPF        123-2112-1
                           Document      Page:Filed
                                               1 12/18/24
                                                    Date Filed: Page
                                                                11/26/2024
                                                                     36 of 37




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             November 26, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW
Regarding:      Fifth Circuit Statement on Petitions for Rehearing
                or Rehearing En Banc
      No. 23-50669      Van Loon v. TREA
                        USDC No. 1:23-CV-312

Enclosed is a copy of the court’s decision. The court has entered
judgment under Fed. R. App. P. 36. (However, the opinion may yet
contain typographical or printing errors which are subject to
correction.)
Fed. R. App. P. 39 through 41, and Fed. R. App. P. 35, 39, and 41
govern costs, rehearings, and mandates. Fed. R. App. P. 35 and 40
require you to attach to your petition for panel rehearing or
rehearing en banc an unmarked copy of the court’s opinion or order.
Please read carefully the Internal Operating Procedures (IOP’s)
following Fed. R. App. P. 40 and Fed. R. App. P. 35 for a discussion
of when a rehearing may be appropriate, the legal standards applied
and sanctions which may be imposed if you make a nonmeritorious
petition for rehearing en banc.
Direct Criminal Appeals. Fed. R. App. P. 41 provides that a motion
for a stay of mandate under Fed. R. App. P. 41 will not be granted
simply upon request. The petition must set forth good cause for
a stay or clearly demonstrate that a substantial question will be
presented to the Supreme Court. Otherwise, this court may deny
the motion and issue the mandate immediately.
Pro Se Cases.   If you were unsuccessful in the district court
and/or on appeal, and are considering filing a petition for
certiorari in the United States Supreme Court, you do not need to
file a motion for stay of mandate under Fed. R. App. P. 41. The
issuance of the mandate does not affect the time, or your right,
to file with the Supreme Court.
Court Appointed Counsel. Court appointed counsel is responsible
for filing petition(s) for rehearing(s) (panel and/or en banc) and
writ(s) of certiorari to the U.S. Supreme Court, unless relieved
of your obligation by court order. If it is your intention to
file a motion to withdraw as counsel, you should notify your client
promptly, and advise them of the time limits for filing for
rehearing and certiorari.     Additionally, you MUST confirm that
this information was given to your client, within the body of your
motion to withdraw as counsel.
     Case:
   Case    23-50669    Document:
        1:23-cr-00430-KPF        123-2112-1
                           Document      Page:Filed
                                               2 12/18/24
                                                    Date Filed: Page
                                                                11/26/2024
                                                                     37 of 37



The judgment entered provides that each party to bear own costs on
appeal. A bill of cost form is available on the court’s website
www.ca5.uscourts.gov.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk


                                   By: _______________________
                                   Christy M. Combel, Deputy Clerk
Enclosure(s)
Mr. Alessio Evangelista
Mr. Matteo Godi
Mr. Christopher Robert Healy
Mr. Matthew Micah Hilderbrand
Mr. Bradley Hinshelwood
Ms. Jessie K. Liu
Ms. Liane Ngin Noble
Mr. Cameron Thomas Norris
Mr. Mark W. Rasmussen
Mr. Kannon K. Shanmugam
Mr. Michael Shih
Mr. Aaron Michael Streett
Ms. Sharon Swingle
Ms. Laranda Latrice Walker
